          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      CHARLOTTE DIVISION

                         CRIMINAL NO. 3:00CR160


UNITED STATES OF AMERICA )
                         )
                         )
         VS.             )                       ORDER
                         )
                         )
JODY SCOTT CALLOWAY      )
                         )


      THIS MATTER is before the Court on the Government’s renewed

motion for an order to require the liquidation of certain property in the

custody of the Federal Bureau of Investigation in order to satisfy restitution.

      No objections having been filed by either the Defendant or potential

third party claimants,

      IT IS, THEREFORE, ORDERED that the Government’s renewed

motion is ALLOWED.

      IT IS FURTHER ORDERED that the Federal Bureau of Investigation

liquidate the two separate sums of $68,524 and $10,000 originally seized

as evidence in this case, convert the total amount to a check payable to

the Clerk, U.S. District Court, Western District of North Carolina, and




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transmit same to the Clerk’s Office at 204 Charles R. Jonas Federal

Building, 401 West Trade Street, Charlotte, North Carolina, 28202.

      IT IS FURTHER ORDERED that, after receipt of these proceeds, the

Clerk apply same to the Defendant’s criminal restitution obligation in partial

satisfaction thereof.


                                      Signed: July 5, 2006




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